Case 2:15-cv-13266-BAF-APP
             Case: 16-1505 Document:
                           ECF No. 3019filedFiled:
                                              09/06/17
                                                   09/06/2017
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
      Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                Filed: September 06, 2017




Mr. David J. Weaver
U.S. District Court
for the Eastern District of Michigan
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                    Re: Case No. 16-1505, HSBC Bank Middle East Limited v. Waleed Yaghmour
                        Originating Case No. : 2:15-cv-13266

Dear Clerk,

  Enclosed is a copy of the mandate filed in this case.

                                                Sincerely yours,

                                                s/Jill Colyer
                                                Case Manager
                                                Direct Dial No. 513-564-7024

cc: Mr. Andrew Wright Clark
    Waleed M. Yaghmour
    Mr. Richard E. Zuckerman

Enclosure
Case 2:15-cv-13266-BAF-APP
             Case: 16-1505 Document:
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                                                   09/06/2017
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 16-1505
                                           ________________

                                                                      Filed: September 06, 2017

HSBC BANK MIDDLE EAST LIMITED, RAMALLAH, PALESTINE

                Plaintiff - Appellee

v.

WALEED M. YAGHMOUR

                Defendant - Appellant



                                            MANDATE

     Pursuant to the court's disposition that was filed 08/15/2017 the mandate for this case hereby

issues today.



COSTS: None
